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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :     CRIMINAL NO. 21-cr-670
               v.                                :
                                                 :
STEPHEN K. BANNON,                               :
                                                 :
                                                 :
               Defendant.                        :

      UNITED STATES’ STATUS REPORT AND MOTION TO EXCLUDE TIME
                 PURSUANT TO THE SPEEDY TRIAL ACT

       Despite the Court’s direction that the parties meet and confer, the first time the Government

learned of the proposed briefing schedule and pretrial order the Defendant submitted to the Court

was at 5:07 p.m. today, when he filed it.   Until that time, except for the dates for the first set of

motions, the Defendant had agreed to the briefing procedure outlined below, see Attachment 1 (the

parties’ correspondence):

 Deadline for the Defendant to make discovery request:                   January 14, 2022

 Deadline for the Government to respond to request:                      January 28, 2022

 Deadline for motions to dismiss, to compel discovery, and to            Government Proposal:
 exclude evidence or argument relating to an advice-of-counsel           March 1, 2022
 defense:
                                                                         Defendant Proposal:
                                                                         April 1, 2022

 Deadline for oppositions to motions to dismiss, to compel               Government Proposal:
 discovery, and to exclude evidence relating to an advice-of-            April 1, 2022
 counsel defense:
                                                                         Defendant Proposal:
                                                                         May 2, 2022

 Deadline for replies to oppositions to motions to dismiss, to           Government Proposal:
 compel discovery, and to exclude evidence or argument relating to       April 15, 2022
 an advice-of-counsel defense:
                                                                         Defendant Proposal:
                                                                         May 16, 2022


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 Deadline for motions in limine:                                         June 17, 2022

 Deadline for oppositions to motions in limine:                          July 1, 2022

 Deadline for replies to oppositions to motions in limine:               July 8, 2022

 Trial                                                                   July 18, 2022


         The procedure above and the Government’s proposed dates for it provide for an orderly,

efficient, and fair briefing process for this case. First, it is the most economical use of the Court

and the parties’ resources.   For example, for many of the discovery motions the Defendant has

represented he will make to support his motions to dismiss, see Status Hrg., Dec. 7, 2021, Tr. at

26-30, he will have to meet a high burden, which most defendants cannot meet, requiring that he

make some preliminary showing on the merits of the intended motion to dismiss, see, e.g., United

States v. Armstrong, 517 U.S. 456, 468-70 (1996) (finding a defendant must meet a “rigorous

standard” to obtain discovery to support a selective prosecution claim under which he must provide

“some evidence tending to show the existence of the essential elements” of the claim).         Filing

motions to compel and dismiss together, therefore, will avoid litigating the same issues over again

in the likely event the Defendant cannot make the requisite showing to entitle him to additional

discovery before filing his motions to dismiss.    Second, it provides the Court with sufficient time

to resolve motions and for the parties and the Court to address the consequences of the Court’s

rulings in advance of a July 18 trial date.   For example, if the Government does not prevail on its

motion to exclude evidence or argument relating to an advice-of-counsel claim and needs to seek

discovery on the matter, or in the unlikely event that the Defendant is successful on any motion to

compel discovery, the schedule outlined above provides sufficient time to address those issues in

advance of the trial date. Indeed, counsel for the Defendant has acknowledged the need to plan

for contingencies in trial planning, stating at the December 7 status hearing, “it may be if a time is


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set, we need more time as we go along.” Status Hrg, Dec. 7, 2021, Tr. at 34:19-20. The

Government’s proposed schedule, setting the first set of motions well in advance of trial, makes

any further delay to address contingencies less likely. Finally, two government counsel have trial

in another matter beginning on April 27, 2022, see United States v. De Moya et al., No. 19-cr-158-

RBW, which falls in the middle of the Defendant’s proposed timeline for briefing the first set of

motions. The defense previously shared they wanted the later dates in the briefing schedule

outlined above because they too had scheduling conflicts, so, in an attempt to accommodate both

parties, the Government offered compromise dates of March 18, April 18, and May 2, but defense

counsel rejected this proposal, Att. 1 at 3-4.1

       Finally, at the December 7 status hearing, the Court found that a July 18, 2022, trial date

was appropriate to allow sufficient time for due consideration of the legal questions that may be at

issue in this case, to allow time for the parties to engage in any information gathering and discovery

that might be necessary for the parties’ potential motions, and to accommodate the limitations on

trial proceedings imposed by the COVID-19 precautions under which the District Court is

operating. Status Hrg., Dec. 7, 2021, Tr. at 35-36, 39-40. Although less than five hours before

his filing the Defendant suggested to the Government that he would defer to the Court on the matter

and not take the position that excludable delay was justified between now and the date the parties

file their first motions, Att. 1 at 1, he appears to have changed his mind. Accordingly, while the

Government continues to believe this straightforward failure-to-appear case does not warrant an



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  The Defendant has never shared with the Government most of the proposed deadlines in the
pretrial order he attaches to his motion despite suggesting to the Court that the Government has
already agreed to all its proposals except the two areas addressed in the Defendant’s report. In
any event, the Government does not object to most of its proposals, except as outlined above. The
Government notes, however, that the proposed pretrial order includes several joint filings requiring
the parties to confer. Given the Defendant’s resistance thus far to meaningfully conferring, this
raises some concern.


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ends of justice continuance under the Speedy Trial Act, the Government understands the Court’s

position and therefore requests that the Court enter an order consistent with its findings at the status

hearing and Chief Judge Howell’s December 13, 2021 Standing Order, No. 21-79 (BAH) (Dec.

13, 2021), that excludes time under the Speedy Trial Act from the date of this Court’s order through

the date the Court sets for the parties to file the first set of motions outlined above.            See

Attachment 2 (Proposed Order).

                                               Respectfully submitted,
                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:     /s/ Amanda R. Vaughn
                                               J.P. Cooney (D.C. 494026)
                                               Molly Gaston (VA 78506)
                                               Amanda R. Vaughn (MD)
                                               Assistant United States Attorneys
                                               United States Attorney’s Office
                                               555 4th Street, N.W.
                                               Washington, D.C. 20530
                                               (202) 252-1793 (Vaughn)
                                               amanda.vaughn@usdoj.gov




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